 Fill in this information to identify your case:

 Debtor 1                 Alexander Saucedo
                          First Name                        Middle Name               Last Name

 Debtor 2                 Chantelle Saucedo
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF TEXAS

 Case number           17-50224-cag
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Bexar County Tax Assessor                           Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of 23319 Seven Winds San                                     Reaffirmation Agreement.
    property       Antonio, TX 78258 Bexar                                 Retain the property and [explain]:
    securing debt: County
                   CB 4925D BLK 2 LOT 35
                   (MOUNTAIN
                   LODGE SUBD UT-5A1)                                      Pay in the ordinary course


    Creditor's         Carfinance.com                                      Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of       2012 Chevy Equinox 110,000                         Reaffirmation Agreement.
    property             miles                                             Retain the property and [explain]:
    securing debt:



    Creditor's         Compass Bank                                        Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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 Debtor 1      Alexander Saucedo
 Debtor 2      Chantelle Saucedo                                                                     Case number (if known)    17-50224-cag

    Description of      2015 Dodge Dart                                      Reaffirmation Agreement.
    property                                                              Retain the property and [explain]:
    securing debt:



    Creditor's     Santander Consumer USA                                 Surrender the property.                                 No
    name:                                                                 Retain the property and redeem it.
                                                                          Retain the property and enter into a                    Yes
    Description of      2016 Chrysler 200                                  Reaffirmation Agreement.
    property                                                              Retain the property and [explain]:
    securing debt:



    Creditor's     Wells Fargo Home Mortgage                              Surrender the property.                                 No
    name:                                                                 Retain the property and redeem it.
                                                                          Retain the property and enter into a                    Yes
    Description of 23319 Seven Winds San                                   Reaffirmation Agreement.
    property       Antonio, TX 78258 Bexar                                Retain the property and [explain]:
    securing debt: County
                   CB 4925D BLK 2 LOT 35
                   (MOUNTAIN
                   LODGE SUBD UT-5A1)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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 Debtor 1      Alexander Saucedo
 Debtor 2      Chantelle Saucedo                                                                     Case number (if known)   17-50224-cag

 Description of leased                                                                                                         Yes
 Property:

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Alexander Saucedo                                                        X /s/ Chantelle Saucedo
       Alexander Saucedo                                                               Chantelle Saucedo
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        April 11, 2019                                                   Date    April 11, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 3

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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IN RE:                                           §
                                                 §
ALEXANDER SAUCEDO                                §    CASE NO. 17-50224-CAG
CHANTELLE SAUCEDO,                               §
                                                 §
                       DEBTORS                   §            CHAPTER 7

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing Statement of
Intention has been served upon the parties listed below by the method indicated hereunder, and to
the parties listed on the Statement by First Class Mail, postage pre-paid, on this _7th _ day of May,
2019.

DEBTORS:
Alexander/Chantelle Saucedo
23319 Seven Winds
San Antonio, TX 78258
Via Electronic Mail with consent

CHAPTER 7 TRUSTEE:
Johnny W. Thomas
St. Paul Square
1153 East Commerce
San Antonio, Texas 78205
Via the Court's ECF Filing System

REQUESTING NOTICE:
Bradley S. Balderrama
Linebarger Goggan Blair & Sampson, LLP
711 Navarro, Suite 300
San Antonio, TX 78205
Counsel for Bexar County
Via the Court's ECF Filing System

Peter B. Dickens
2180 North Loop West, Suite 510
Houston, TX 77018
Counsel for CarFinance Capital
Via the Court's ECF Filing System
UNITED STATES TRUSTEE:
Post Office Box 1539
San Antonio, Texas 78295-1539
Via the Court’s ECF Filing System



                                    __/s/ H. Anthony Hervol________________
                                    H. Anthony Hervol
